Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 1 of 14

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

EMPLOYMENT DISCRIMINATION COMPLAINT FOR
PRO SE LITIGANTS IN ACTIONS FILED UNDER
A2 U.S.C. § 2000¢e, ef seg., (Title VII of the Civil Rights Act)
29 U.S.C. § 621, et seg., (Age Discrimination in Employment Act); or
42 U.S.C. § 12112, et seg., (Americans with Disabilities Act)

Dok Well brtamin Flnteoy

(Write the full Name of each Plaintiff
who is filing this complaint. If the
names of all the Plaintiffs cannot fit
in the space above, please write

“see attached” in the space and
attach an additional page with the
full list of names.)

v. Case No.: 24 yd Aw lar

(To be filled in by the Clerk's Office)

Moccon Ado Group
U

(Write the fill name of each Defendant Jury Trial Requested?
who is being sued. If the names of all YES a NO

the Defendants cannot fit in the space
above, please write “see attached” in
the space and attach an additional page
with the full list of names.)

NDFL Pro Se 7 (Rev. 12/16) Compiaint Employment Discrimination
ClerkAdmin/Official/¥ orms

Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 2 of 14

I. PARTIES TO THIS COMPLAINT

A. Plaintiff

1. Plaintiff’s Name: Chor Nwell Borfasrin Finboy

Address: SUD NW ‘ath Avenve,

City, State, and Zip Code: Corral b, lef, 29 6b
Telephone: (Home) (ae DN6. UB (Cell)

2. Plaintiff's Name: Chor Wurell Rerannin Fivntroy

* Mailing

Address: l40| Noah Mar Sreet Boy GIy

City, State, and Zip Code: Garros ile fl, QN60]
Telephone: (Home) (R92IS-UUlS (Cell)

(Provide this information for any additional Plaintiffs in this case by

attaching an additional page, as needed.)

B. Defendant(s)

1. Defendant’s Name: Moran hudo Group,
(

Name of Employer (if relevant):

Address: ‘AQQ| Noah Koclay Point Nive Wet Suite 770

City, State, and Zip code: lamps Florida, 3307

NDEL Pro Se 7 (Rev. 12/16) Complaint Employment Discrimination 9
ClerkAdmin/Officisl/Forms

Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 3 of 14

2. Defendant’s Name:

Name of Employer (if relevant):

Address:

City, State, and Zip Code:

(Attach a page to provide this information for any additional

Defendanis.)

II. BASIS FOR JURSIDICTION

This case is brought for discrimination in employment pursuant to:

(Check all that apply)

wu’ Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. § 20006 -
§ 2000e-17 (race, color, gender, religion, national origin) (Note: To bring
a federal lawsuit under Title VIL, you must first obtain a Notice of Right
to Sue letter from the Equal Employment Opportunity Commission.)

o Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §
621 to § 634. (Note: To bring a federal lawsuit under the Age
Discrimination in Employment Act, you must first file a charge with the
Equal Employment Opportunity Commission.)

w’ Americans with Disabilities Act of 1990 [A.D.A.], as codified, 42 U.S.C.

§ 12112 to § 12117. (Note: To bring a federal lawsuit under the AD.A.,

NDEL Pro Se 7 (Rev, 12/16) Complaint Employment Discrimination 3
ClerkAdmin/O fficial/Fenias

Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 4 of 14

you must first obtain a Notice of Right to Sue letter from the Equal
Employment Opportunity Commission.)

oO Other Federal Law (be specific):

c Relevant State Law (specify, if known):

o Relevant City or County Law (specify, if known):

IW. STATEMENT OF CLAIM
Write a short and.plain statement of your claim. Do not make legal arguments
or quote from cases. State the facts which show what happened, as well as
where and when it happened. State how each Defendant was involved and
explain what a Defendant did or did not do. Identify how each named
Defendant caused you harm or violated federal law. Write each statement im
numbered paragraphs, limited as far as practicable to a single event or incident.
If more than one claim is asserted, number each claim, and ensure that a short
and plain statement of facts supporting each claim is included in the facts

alleged, Attach no more than two (2) additional pages to state your claim.

O Les Erne Fea) Mec Auto Grog, (ons: inne | Laan
Automngtive arid neh bck related Soucht trod ca deeclongnt

NDEL Pro Se 7 (Rev. 12/16) Complaint Employment Discrimination 4
ClerkAduin/Official/Forms

Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 5 of 14

Statement of Claim, Continued (Page of }

Cr AUSIIY toas_sert Leh Sy Reperwak Haugh er, (Sicliog
for me, tyAillouk and cehum, % Nong A Leap (on ack ne
poortorg an Lg bay, Oy (MSI Lied Sly Pager toss Navel
(sth orf nebln nuyter “Thru enya Teckel of aden ‘Lealdeduen.

4p bark, recetved no cespatte, Si ¥ rouge Goad ernaitle re-cdletng
ase question and {ooo hers, Abler werks of No reser Tressel
argue to oe. 08 ny quttons Lich ‘why orvlopet was Shit
spot A, aod al ay convert coll aldresped aol \ ok be
\anred then recenved an ervoal Sor Nowe Nao boop, tyr
“C ann relenged Loe i hull doh, Merc Ack Gap Luvll K beclad Jo
Lave. Me heck , ketal At wih 1. ‘On (04/e@ shale Wh RY
enon unre in ny Ligh huty fe eruiod,

® Ober emolapes were \njueed and allowed +o be empayed
by Meg hc Gayp 08 ther ethniodtes I lolreve Ti Lam loin ng
Lisrnicated orp Lott rehalichon Locate of iny (lace and
chechilty viol ing Abe Americans tstfh isc ties Adond He
Curl Rat Ad Be Vl, Petar Avo \usy Mop Ah Cray ako

\reoded (fren and ease ay sued and Nore qt emilaypes

5

Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 6 of 14

A. The discriminatory conduct at issue includes (check all that apply):
o Failure to hire
ov Termination of employment
Oo Failure to promote
of Failure to accommodate disability
ol’ Unequal terms and conditions of employment
ao Retaliation

Oo Other acts (specify): Harassment

(ATTENTION: Only those grounds raised in the charge filed with the

Equal Employment Opportunity Commission may be considered by the
federal district court under the federal employment discrimination

statutes.)

B. The alleged discriminatory acts occurred on: (D/ 13/ 30 and pcior

O Plaintiff sought employment with Defendant on or

w/ Was employed by Defendant from 3] I] 8 @ until |O/ 3/20

C. The location where Plaintiff was employed or sought employment was:

Address: Q0| Noth Morn Greet

City, State, and Zip Code: Gouresuille, Flotla,, 49009

NDFL Pro Se 7 (Rev. 12/16) Complaint Employment Discrimination 6
ClerkAdmin/Official/Forms

Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 7 of 14

IV. EXHAUSTION OF FEDERAL ADMINISTRATIVE REMEDIES
A. Plaintiff filed charges against Defendant with the Equal Employment
Opportunity Commission or the Florida Commission on Human Rights
on: A/(/19 earliest dere found as filed, before 2/13/19
B. Respondent(s) named on the charging document were: nda of

Carowile

(If possible, attach a copy of the charges filed.)

C. The Equal Employment Opportunity Commission: (check one)
o Has not issued a Notice of Right to Sue letter.

if Issued a Notice of Right to Sue letter which I received on / 4 [90

(Note: You must attach a copy of the Notice of Right to Sue letter
received from the Equal Employment Opportunity Commission to this
complaint.)

D. As claimed in the Equal Employment Opportunity Commission charging
document, Defendant discriminated against Plaintiff because of Plaintiff's:
o Gender/Sex (please identify)

of Race (please identify) “Tile VI ot Civil Richs Met ~Moican Arertery

0 Color (please identify)

o Religion (please identify)

oO National origin (please identify)

NDFL Pro Se 7 (Rev. 12/16) Complaint Employment Discrimination q
ClerkAdmin/Official/Forms

Case 1:21-cv-00009-AW-GRJ Document 1 Filed 01/12/21 Page 8 of 14

Anertets
ui Disability/Perceived Disability (please identify) tr woted and ley bas sa veal iY

O Age (please provide your year of birth only if you asserting a wlcn or

age discrimination)

ti Other (please identify)

E. Plaintiff:

o Filed charges concerning this discrimination with the Florida

Commission on Human Relations on ; or
wid not file.

-F, Tf asserting a claim for age discrimination, please indicate the amount of
time that has elapsed since filing your charge of age discrimination with
the Equal Employment Opportunity Commission regarding the
Defendant’s alleged discriminatory conduct (check one):
of 60 days ore more have elapsed.
co Less than 60 days have elapsed.

G. Ifthis is a disability-related claim, did Defendant deny a request for a

reasonable accommodation? wy es ONo

Explain: ted T mas bully hoo} ed ty reuen ty wrk other k Nees
and reclving and be keel aca é Lalo fear (dork bi “id i

NDEL Pro Se 7 (Rev. 12/16} Complaint Employment Discrimination g
ClorkAdmin/Official/Forms

Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 9 of 14

H. The facts as set forth above in Section II of this complaint:

of Are still being committed by Defendant against Plaintiff

oO Are no longer being committed by Defendant against Plaintiff
I. Plaintiff:

Oo Still works for Defendant

of No longer works for Defendant

Oo Was not hired

V. RELIEF

Briefly state what damages you are requesting and include the amounts of any
actual damages claimed and the basis for these amounts. Include any punitive
or exemplary damages requested and state the reasons you believe you are

entitled to such damages:

Moetery Some Qin and Suearg couced by loss of Medical Trawenog
hing bly od treat sparks, (axsing More: cong cod fos or
Bg Grech & Contoaat with ee hodo bo ll ong laws (orga A pho
Nanas i kr Lacon CORK, fb fed {Mt tus by uoetpayenet, Lost sal
hor es, Hanitlve 005 (\nat nals, dnt aks de
by Neean b bay aod ats dllise, Suprted ant Luan hy elas in
mule pasos ond all \evele Seg max rend inal Gine of Voges

NIFL Pro Se 7 (Rev. 12/16) Complaint Employment Discrimination 9
ClerkAdmin/Officiai/Forns

Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 10 of 14

Plaintiff also requests that the Court grant the following relief to Plaintiff:
CO Defendant be directed to employ Plaintiff
r1 Defendant be directed to re-employ Plaintiff

«] Defendant be directed to promote Plaintiff
0 Defendant be directed to take (oricehive and preventive PLBig€S fo Cut
dir mrnation 4 he coor alace

w Plaintiff seeks costs and fees involved in litigating this case and such other

relief as may be appropriate, including attorney's fees, if applicable.

VI. CERTIFICATION
As required by Federal Rule of Civil Procedure 11, I certify by signing below
that to the best of my knowledge, information, and belief, this complaint: (1) is
not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported
by existing law or by a non-frivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or,
will likely have evidentiary support after a reasonable opportunity, for further
investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

NDFE Pro Se 7 (Rey. 12/16} Complaint Empleyment Discrimination 1 0
ClerkAdmie/O ficial/Forms

Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 11 of 14

L agree to timely notify the Clerk’s Office if there is any change to my mailing
address. I understand that my failure to keep a current address on file with the

Clerk’s Office may result in the dismissal of my case.

Date: |/ {3/9} Plaintiff's Signature: h. hdl by

Printed Name of Plaintiff: Wot hvurell Benjamin Flighey
Address: Oy Ns "Gg Avenue Carresulle le Face 1060,
K Mat Hess: HOt Noth Mota Set f0-BOK "6184 Carnesvlle Flora Sibel?

B-Mail Address: Lh; roy yah Op, COM
Telephone Number: (362) 26~ 4 If

NDFL Pro Se 7 (Rey, 13/16) Complaint Employment Discrimination 1 1
ClerkAdmia/Official/Forms

Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 12 of 14

EEOC Form 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

DISMISSAL AND NOTICE OF RIGHTS

To: Robert D. Flintroy From: Miami District Office
3465 NW 50th Ave Miami Tower, 106 S E 2nd Streef
Gainesville, FL 32605 Suite 1500

Miami, FL 33131

[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §160T.7(a})
EEOC Charge No. EEOC Representative Telephone No.
EDRAS REGISME,
§10-2019-01348 investigator (786) 648-5819

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

_Your charge was not timely fied with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

A OUOU

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable te conclude that the
information ebtained establishes violations of the statutes. This dees not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or Jocal fair employment practices agency that investigated this charge.

Uo

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the addifional information attached fo this form.)

Title VII, the Americans with Disabilities Act, the Genetic information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you,
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
iawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time {limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be coillectibie.

On behalf of the Commission
ig tats Ig era ty 3 Wal storey eer
Twanya Westmoreland suiiromsinienntsnome cis October 14, 2020

Enclesures(s) BRADLEY A. ANDERSON, (Date Mailed}
Acting District Director

oe Respondent's Legal Representative

HONDA OF GAINESVILLE

c/o Douglas J. Lapointe, ESQ

CAMERON HODGES COLEMAN LAPOINTE &
WRIGHT, P.A.

1171 N. Magnolia Avenue, Suite 1350

Orlando, FL 32801

Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 13 of 14
Enclosure with EEOC
Form 164 (74/18)
INFORMATION RELATED TO FILING SuIT

UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
if you aise plan to sue claiming violations of State law, please be aware that time limits and ofher
provisions of State law may be shorter or more limited than those described below.)

____ Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s} named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should de so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be fited within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.} Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a “comptaint® that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached te the complaint you file in court. if so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged uniawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible, For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/4/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008, This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vil, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obiaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requesis de not relleve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice}, While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want fo review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.

Case 1:21-cv-00009-AW-GRJ Document1 Filed 01/12/21 Page 14 of 14

NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this

information with your attorney and suggest that _he or she consult the amended regulatiens and

appendix, and other ADA related publications, available at
http: //wrw.eeoc.cov/laws/types/disability regulatiens.cfm.

“Actual” disability or a “recerd of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

> The limitations from the impairment no longer have to be severe or significant for the impairment to
be considered substantially limiting.

> In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,

learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.FLR. §

1630.2(i)), “major life activities’ now include the operation of major bodily functions, such as:

functions of the immune system, special sense organs and skin; normal cell growth; and digestive,

genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,

hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ

within a body system.

Only one major life activity need be substantially limited.

With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating

measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not

considered in determining if the impairment substantially limits a major life activity.

> An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
cancer) is a disability if it would be substantially limiting when active.

> An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
months.

Vv

“Regarded as” coverage:

> An individual can meet the definition of disability if an employment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment).

> “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
limiting, or that the employer perceives the impairment to be substantially limiting.

> The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
BOTH transitory (lasting or expected to last six months or less) AND minor.

> A person is not able to bring a failure to accommodate claim /f the individual is covered only under the
“regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed breadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specifie evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as

explanatory publications, available at hitp:/(www.eecc.gov/laws/types/disability regulations.cfm.

